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James Garretson (00:00):
Hello?

Agent Matt Bryant (00:02):
Hi.

James Garretson (00:02):
Hey.

Agent Matt Bryant (00:03):
I was just talking to Sheriff Rhoads on another matter unrelated and I asked him, I said, "Did you ever
get a call from James Gerretson regarding a threat towards Jeff Lowe? He says, "I do not." He said, "Did
he call the SO?" [crosstalk 00:00:18].

James Garretson (00:18):
I called the Sheriff's office.

Agent Matt Bryant (00:21):
Do you remember what day that was?

James Garretson (00:22):
I can look at my phone and tell because I asked ...

Agent Matt Bryant (00:27):
[crosstalk 00:00:27].

James Garretson (00:27):
He was out and the undersheriff were out. I definitely 150% called.

Agent Matt Bryant (00:34):
All right. See if you can call me back, don't text me, but call me back with a date. He's at the SO now.
He's searching why. I said, "I think you got to call." He's goes, "Man." He said, "Dude. I would've
responded to it." He says, "That pisses me off." He said, "I'm researching it now."

James Garretson (00:51):
No, I definitely called from my cellphone. Do you remember what night that he texted you? Remember
it was the night that he was going to meet me. He wanted you to schedule a fight? It was at night. Do
you remember?

Agent Matt Bryant (01:12):
[inaudible 00:01:12].

James Garretson (01:13):


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Remember he texted you? Because I called you. Remember I called you? I mean, I looked in my calls, it's
going to take me a little while to look through it. I just can't remember around what day that was.

Agent Matt Bryant (01:32):
Would you be willing to ask them to meet me in a public place right now?

James Garretson (01:40):
Yeah, it was at night. Meet me another time.

Agent Matt Bryant (01:44):
[crosstalk 00:01:44] February the 20th.

James Garretson (01:46):
February the 20th. Let me look real quick. One second.

Agent Matt Bryant (01:48):
I'm going to tell Sheriff Rhoads that's the date it was.

James Garretson (01:58):
I 100% called. I mean guaranteed, because remember I talked to you and then I'll call him right after, 30
minutes after I got off the phone with you. Recent.

Agent Matt Bryant (02:06):
I was just [inaudible 00:02:19] that [inaudible 00:02:20]. It was 9:30 at night.

James Garretson (02:25):
He had called me and then I turned around and called you. I called you the next morning, actually.

Agent Matt Bryant (02:34):
Okay. Then February 21st is when you called me and I said, "You got to report it," and then you went
ahead and did.

James Garretson (02:46):
Yes. It'd be the 21st. If he needs to talk to me or whatever, I mean, I'll talk to him.

Agent Matt Bryant (02:51):
He didn't get the info.

James Garretson (02:54):
I definitely left it with them because they even looked and see if the undersheriff was there.

Agent Matt Bryant (03:01):
If you get a call from him, just take care of it.


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James Garretson (03:04):
I will. All right. Bye.




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